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DISTRICT OF MASSACHUSETTS
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ADAM J. vISNICK and HoWARD mg 1 ;:11;`; `§FF rtASS.
VISNICK, "
Plainaffs,
v. CIVIL ACTIoN

NO. 04-10815 MLW
SANCTUARY 4298 INVESTMENTS
LLC,

Defendant.

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STIPULATION OF DISMISSAL WITI-I PREJUDICE

 

Pursuant to Rule 41(a)(l) of the Federal Rule of Civil Procedure, the Plaintiffs, Adam
Visnick and Howard Visnick, and the Defendant, Sanctuary 4298 Investments LLC, hereby
stipulate and agree that the above-entitled action be dismissed with prejudice, with each party

bearing its own costs and waiving all rights of appeal

ADAM VISNICK and SANCTUARY 4298 INVESTMENTS LLC,
HOWARD VISNICK, By its Attomeys:

5_`By their attorney:
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arlene A§ Pennell, eeo #631175

  
 

   

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Roberr s. W¢1fe, BBo#532500

Wolfe Associates, P.C. Gary C. Crossen, BBO##106580
65 Middle Street Rubin and Rudman LLP

P.o. BOX 1600 50 Rowes Wharf, 3“‘ Fi.
Gloucester, MA 01930 Boston, MA 02110

(987) 281-0190 (617) 330-7000

CERT|FICA`TE OF SEl-`iVlCE

DATED: June 10’ 2004 l hereby certify that a true copy of the above
document was served upo,r;,tl attorney of

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